                     Case 2:17-cv-00198-DJH Document 25 Filed 12/27/16 Page 1 of 2
   

                                                                                                12/27/2016

                                                                                                   CW

                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
  CARPENTERS SOUTHWEST                                                  CASE NUMBER 2:16-cv-08040-MWF-SK
  ADMINISTRATIVE CORPORATION, a
  California non-profit corporation; and
  BOARD OF TRUSTEES FOR THE
  CARPENTERS SOUTHWEST TRUSTS,
                                                         Plaintiff(s)
                                 v.
  HKB, INC., an Arizona corporation, doing
  business as SOUTHWEST INDUSTRIAL
  RIGGING; HARRY KENT BAKER, an
  individual; SCOTT WILLIAM MILLER, an                                   ORDER ON AMENDED APPLICATION OF
                                                                        NON-RESIDENT ATTORNEY TO APPEAR IN
  individual; JAMES DOUGLAS WILSON,                                         A SPECIFIC CASE PRO HAC VICE
  an individual,

                                                      Defendant(s).
 The Court, having determined whether the required fee has been paid, and having reviewed the Application of
 Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
  HOLLAND, JR., JAMES E.                                                        of     STINSON LEONARD STREET LLP
  Applicant’s Name (Last Name, First Name & Middle Initial                             1850 North Central Avenue, Suite 2100
  602-279-1600                             602-240-6925                                Phoenix, Arizona 85004
  Telephone Number                         Fax Number
  James.holland@stinson.com
                                 E-Mail Address                                        Firm/Agency Name & Address
 for permission to appear and participate in this case on behalf of
  HKB, INC., an Arizona corporation, doing business as SOUTHWEST INDUSTRIAL
  RIGGING; HARRY KENT BAKER; SCOTT WILLIAM MILLER; JAMES DOUGLAS
  WILSON


  Name(s) of Party(ies) Represent                              ☐ Plaintiff(s) ☒ Defendant(s) ☐ Other:
 and designating as Local Counsel
  Begakis, Nicholas J.                                                            of    LimNexus LLP
  Designee’s Name (Last Name, First Name & Middle Initial                               1055 West Seventh Street, 28th Floor
  253588                              213-955-9500          213-955-9511                Los Angeles, California 90017
   Designee’s Cal. Bar No.              Telephone             Fax Number
                                         Number
  nick.begakis@LimNexus.com
                                 E-Mail Address                                         Firm/Agency Name & Address



 CORE/3008422.0002/130746334.1        ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE   Page 1 of 1
G-64 Order (05/16)
 HEREBY ORDERS THAT
            Case     the Application be: Document 25 Filed 12/27/16 Page 2 of 2
                 2:17-cv-00198-DJH
  ☒GRANTED
  ☐DENIED:            ☐     for failure to pay the required fee.
                      ☐     for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐     for failure to complete Application:
                      ☐     pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                            is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☐     pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                            District.
                      ☐ because
 IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

 Dated: December 27, 2016
                                                                                                 U.S. District Judge




 CORE/3008422.0002/130746334.1       ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE             Page 1 of 1
G-64 Order (05/16)
